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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                  October 16, 2020
                         UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           § MAG. JUDGE ACTION NO. 2:20-MJ-1802-1
                                              §
ORLANDO CALDERAS                              §


 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

        A detention hearing was held today in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the Defendant pending trial in this

case:

        (1)   There are no conditions or combination of conditions that would reasonably

assure the appearance of the Defendant as required and the safety of the community.

        The evidence against the Defendant meets the probable cause standard. The

Defendant is a multiple time convicted felon, is alleged to have included his family (wife

and two kids) in the commission of this offense, was recently released from parole for a

felony offense, and has a long history of violent behavior. The Defendant is a poor

candidate for bond.

        The Defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request

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of an attorney for the Government, the person in charge of the corrections facility shall

deliver the Defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.


       ORDERED this 16th day of October, 2020.


                                              ___________________________________
                                              Julie K. Hampton
                                              United States Magistrate Judge




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